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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


CINDY GAMRAT,

           Plaintiff,                      Case No. 1:16−cv−01094−GJQ−PJG

   v.                                      Hon. Gordon J. Quist

EDWARD MCBROOM, et al.,

           Defendants.
                                     /



                                      ORDER
        Plaintiff's Motion For Leave To File (ECF No. 58) is GRANTED.

        IT IS SO ORDERED.


Dated: March 2, 2018                              /s/ Gordon J. Quist
                                                 GORDON J. QUIST
                                                 United States District Judge
